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                                   8                                 UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10                                      SAN FRANCISCO DIVISION
                                  11    BRYON U JACKSON,                                    Case No. 21-cv-08458-LB
                                  12                   Plaintiff.
Northern District of California
 United States District Court




                                                                                            NOTICE REGARDING CONSENT TO
                                  13            v.                                          JURISDICTION OF UNITED STATES
                                                                                            MAGISTRATE JUDGE
                                  14    TARGET CORPORATON,
                                  15                   Defendant.
                                  16      The complaint in this action was filed on October 29, 2021. Under General Order 44, this case
                                  17   has been assigned to Magistrate Judge Laurel Beeler to conduct all proceedings and to order the
                                  18   entry of final judgment upon the consent of all parties. Defendant filed a Motion to Dismiss or
                                  19   Strike Portions of Complaint. The parties must file a signed consent to the jurisdiction of the
                                  20   magistrate judge before Magistrate Judge Beeler can consider the merits of the case or a motion
                                  21   filed by either party. Accordingly, the parties must sign and return or electronically file the
                                  22   attached Consent or Declination to Magistrate Judge Jurisdiction within seven calendar days.
                                  23   Any party is free to withhold consent without substantive consequences. If the parties do not
                                  24   consent, the case will be randomly assigned to a district judge of this court.
                                  25   Dated: December 14, 2021                       Mark B. Busby
                                                                                      Clerk, United States District Court
                                  26

                                  27                                                  By:_ __________________________________
                                  28                                                     Elaine Kabiling, Deputy Clerk


                                       ORDER (No. 21-cv-08458-LB)
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                                                                       UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN FRANCISCO DIVISION
                                   3
                                        BRYON U JACKSON,
                                   4                                                            Case No. 21-cv-08458-LB
                                                        Plaintiff.
                                   5
                                                 v.                                             CONSENT OR DECLINATION
                                   6                                                            TO MAGISTRATE JUDGE
                                        TARGET CORPORATON,                                      JURISDICTION
                                   7
                                                        Defendant.
                                   8

                                   9
                                       INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
                                  10   or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
                                       jurisdiction in this matter. Sign this form below your selection.
                                  11
                                       ( ) Consent to Magistrate Judge Jurisdiction
                                  12       In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
Northern District of California




                                       United States magistrate judge conduct all further proceedings in this case, including trial and
 United States District Court




                                  13   entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
                                       United States Court of Appeals for the Ninth Circuit.
                                  14
                                               OR
                                  15
                                       ( )    Decline Magistrate Judge Jurisdiction
                                  16          In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
                                       magistrate judge conduct all further proceedings in this case and I hereby request that this case be
                                  17
                                       reassigned to a United States district judge.
                                  18   DATE:     _______________________                         NAME:
                                  19                                                    COUNSEL FOR
                                                                                        (OR “PRO SE”):
                                  20

                                  21
                                                                                                                           Signature
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                                       ORDER (No. 21-cv-08458-LB)                          2
